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                    7
                                         UNITED STATES DISTRICT COURT
                    8
                                       SOUTHERN DISTRICT OF CALIFORNIA
                    9
               10
                                                            Case No. 3:22-cv-00900-GPC-MSB
               11 APARNA VASHISHT-ROTA, an
                  individual,
               12                                           DEFENDANTS HOWELL
                              Plaintiff,                    MANAGEMENT SERVICES, LLC
               13                                           AND HOWELL’S MEMORANDUM
               14       v.                                  IN SUPPORT OF MOTION TO
                                                            DISMISS
               15 BLUECHIP SERVICES
                  (INTERNATIONAL), an India Private         [Filed concurrently with Notice of
               16 Limited Company, BLUECHIP
                  SERVICES INTERNATIONAL                    Motion, Declaration of Timothy A.
               17 CHENNAI, an India Private Limited         Horton]
               18 Company, Mr. MOHAMMED
                  HARISS, an individual, Mrs. MUBEEN        Judge: Hon. Gonzalo P. Curiel
               19 TAJ, an individual, HOWELL                Date: Friday, September 16, 2022
                  MANAGEMENT SERVICES, LLC, a               Time: 1:30 p.m.
               20 Utah LLC; CHRIS HOWELL, an                Courtroom: 2D (Schwartz Courthouse)
               21 individual, and DOES 1-25,
               22                Defendants.
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  LAW OFFICE OF                                                                    viii                      Case No. 3:22-cv-00900-GPC-MSB
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                    1         Defendants Howell Management Services, LLC (“HMS”), and Chris Howell
                    2 (“Howell”) (collectively, “HMS Defendants”) respectfully submit this Memorandum
                    3 in Support of their Motion to Dismiss the claim against them by Plaintiff Aparna
                    4 Vashisht-Rota (“Plaintiff”), the Fifth Cause of Action. The HMS Defendants move
                    5 under Rules 12(b) and 41 of the Federal Rules of Civil Procedure, including on the
                    6 basis that Plaintiff is collaterally estopped from relitigating that her claims against
                    7 them must be asserted, if at all, in the State of Utah on the basis of forum non
                    8 conveniens and a governing forum selection clause between the parties.
                    9                                  I. INTRODUCTION
               10             Continuing her practice of filing duplicative lawsuits against them, Plaintiff
               11 Vashisht-Rota brings yet another pro se claim against the HMS Defendants which
               12 necessarily arises out of the lone relationship between them – a contractual business
               13 relationship ended years ago. The dispute between the parties was first pleaded in a
               14 case in Utah brought by Defendant HMS five years ago – followed by Plaintiff in
               15 three cases in this Court, two of which have already been dismissed in deference to
               16 Utah and the third with a pending motion to dismiss. Unhappy with the outcomes in
               17 the Utah case and her own later lawsuits, Plaintiff has pursued a bad faith course of
               18 action to file duplicative claims against the HMS Defendants over and over again,
               19 seeking a different result. The origin, the Utah case, involves a business dispute
               20 where Plaintiff, through her business entity, contracted with HMS as an independent
               21 consultant in the graduate educational recruiting space. In doing so, Plaintiff agreed
               22 to Utah court as the exclusive forum for disputes between them. Plaintiff’s latest
               23 claim is yet one more improper attempt at duplicative, overlapping litigation in
               24 disregard of basic principles of a fair judicial process and, again, must be dismissed.
               25                                  II. BACKGROUND FACTS
               26             While the convoluted allegations of her “First Amended Complaint” (“FAC”)
               27 removed to this Court are impossible to fully decipher, it alleges a lone claim against
               28 the HMS Defendants for unfair competition in apparent violation of the Sherman
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                    1 Act federal antitrust statute. Plaintiff’s original complaint was brought against four
                    2 other defendants (the Bluechip or “BC Defendants”), who are citizens of India and
                    3 business partners of HMS. Construing conflicting factual allegations, Plaintiff seems
                    4 to perhaps claim that the HMS Defendants joined the BC Defendants in some type
                    5 of anticompetitive agreement to exclude her from work. However convoluted, what
                    6 is apparent from her allegations, is that Plaintiff’s claim against the HMS Defendants
                    7 necessarily arises from the lone former contractual business relationship between
                    8 them and the litigation about it, which she has spent years multiplying – and has
                    9 twice already been dismissed in favor of proper Utah jurisdiction.
               10
                             A.     Plaintiff’s Work for the HMS Defendants ended Years Ago and
               11                   Resulted in Litigation in Utah.
               12            In November of 2017, Defendant HMS initiated litigation against Plaintiff and
               13 her entity, August Education Group (“AEG”) in the First Judicial District in and for
               14 Cache County, Utah (the “Utah Litigation”), namely, Howell Management Services,
               15 LLC v. August Education Group et al., No. 170100325 (the “Utah Litigation”) (See
               16 Docket in the Utah Litigation, attached to the Declaration of Timothy A. Horton
               17 (“Horton Declaration”). In that Utah Litigation, HMS asserts causes of action for
               18 declaratory relief that HMS does not owe Plaintiff or her entity any further
               19 compensation, and breach of contract claims related to the parties’ agreement. HMS
               20 also seeks relief for various torts and requests injunctive relief related to Plaintiff’s
               21 email harassment campaign where she falsely claimed to HMS business partners that
               22 she was subject to egregious sexual harassment and discrimination at the hands of
               23 HMS and its principals, Chris Howell and Justin Spencer, during her work for them.
               24            As explained in the Utah Litigation, Plaintiff entered into several agreements
               25 with HMS through her consulting agency, AEG, by which AEG acted as an
               26 independent consultant, termed an authorized representative, for HMS through the
               27 provision of AEG’s consulting services. In denying Plaintiff Vashisht-Rota and
               28 AEG’s motion to compel arbitration, the Utah court concluded that the superseding
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                    1 agreement that governed the parties’ relationship did not contain an arbitration
                    2 provision. (Id.). Rather, that Third Agreement executed by Howell for HMS and
                    3 Plaintiff for AEG provides that “With respect to any claim or action arising under
                    4 this Agreement each party to the Agreement hereby (a) irrevocably submits to the
                    5 exclusive jurisdiction of the Courts of the State of Utah ….” (the “Forum Selection
                    6 Provision”) (2019 Cal. Litig., Case No. 3:19-cv-00512 [Dkt 18] at 6); see also
                    7 Horton Decl. ¶ 5. The Third Agreement also provides that “This Agreement shall be
                    8 governed by and construed in accordance with the laws of the State of Utah.” (Id.).
                    9        Following the denial of the Motion to Compel Arbitration, AEG and Plaintiff
               10 answered and filed a Counterclaim, asserting causes of action against HMS for
               11 breach of contract for failing to pay amounts due for services provided under the
               12 agreement, as well as related claims for breach of the implied covenant of good faith
               13 and fair dealing and unjust enrichment. In her Counterclaim, Plaintiff alleged that
               14 HMS and its agents engaged in gender and religious harassment against her. (See
               15 Horton Decl. ¶ 6; Utah Counterclaim at ¶ 36; see also ¶¶ 39, 47, 53.)
               16            The Utah Litigation is nearly complete. On September 2, 2020, the Utah Court
               17 enter an order striking the answer of Plaintiff Vashisht-Rota and her entity August
               18 Education Group, dismissing their counterclaim, and awarding sanctions to HMS for
               19 their willful violation of a Court order. Consequently, there is now a determination
               20 of liability in favor of the HMS Defendants and against Plaintiff, and all that remains
               21 is a trial to determine the extent of HMS’s damages. Vashisht-Rota is pursuing an
               22 interlocutory appeal of terminating sanctions, which has been fully briefed and is
               23 awaiting either decision or oral argument.
               24            The Utah Court also dismissed with prejudice a duplicative case filed pro se
               25 by Plaintiff, purporting to seek relief in her California cases and for the Utah Court
               26 to abandon its jurisdiction. (Aparna Vashisht-Rota v. HMS, LLC et al., First Judicial
               27 District Court of Cache County, Utah, Case No. 200100119, filed April 17, 2020).
               28 On April 26, 2021, the Utah Court entered an order declaring Plaintiff a vexatious
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                    1 litigant, which was affirmed by the Utah Court of Appeals – which also declared her
                    2 a vexatious litigant in that Court. Vashish-Rota v. Howell Management Services, 503
                    3 P.3d 526, 2021 UT App 133 (Utah App. Dec. 2, 2021). Plaintiff’s petitions for
                    4 discretionary review of that order by the Utah Supreme Court were denied.
                    5        B.    Plaintiff Previously Filed Three Duplicative Lawsuits in California
                    6        In July of 2018, Plaintiff filed an action in the San Diego Superior Court,
                    7 which HMS removed as Rota v. Howell Management Services, et al., S.D. Cal. Case
                    8 No. 3:18-cv-02010-L-AGS (the “2018 California Litigation”). In that case, Plaintiff
                    9 asserted claims against HMS and its principal, Chris Howell (“Howell”) for various
               10 violations of California’s Labor Code and for Unlawful Business Practices under
               11 California Business and Professions Code §§ 17200 et seq. (Id. at [Dkt. 1-2].) Upon
               12 Defendants’ Motion, the Honorable Judge Lorenz dismissed that 2018 lawsuit on the
               13 basis that Plaintiff’s claims were compulsory counterclaims that needed to be
               14 asserted in the Utah Litigation, if at all. Id. at [Dkt. 22]. Plaintiff appealed.
               15            In March of 2019, Plaintiff commenced yet another action in this Court
               16 against HMS and Howell, Rota v. Howell Management Services, LLC, S.D. Cal.
               17 Case No. 3:19-cv-0512-L-MDD (the “2019 California Litigation”). In that case,
               18 Plaintiff recast her claims against HMS and Howell as ones for sexual harassment,
               19 sexual and racial discrimination, retaliation in violation of public policy and the
               20 California Labor Code, constructive discharge, intentional infliction of emotional
               21 distress, violation of equal pay, and failure to prevent or correct discrimination and
               22 harassment. Id. at [Dkt. 1]. Upon Defendants’ Motion, Judge Lorenz, again
               23 presiding, dismissed that case on the basis of forum non conveniens and the
               24 governing Forum Selection Provision. (Id. at [Dkt. 18].) Rota appealed the dismissal.
               25            While simultaneously pursuing her prior two duplicate lawsuits on appeal,
               26 Plaintiff commenced yet a third lawsuit in this Court against HMS and Howell in
               27 2020, Rota v. Howell Management Services, LLC, S.D. Cal. Case No. 3:20-cv-00321
               28 RBM-KSC (the “2020 California Litigation”). In that case, Plaintiff again asserts
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                    1 claims for various violations of California’s Labor Code and for Unlawful Business
                    2 Practices under California Business and Professions Code §§ 17200 et seq., unfair
                    3 competition, fraud, false promises, unpaid wages, defamation, and a RICO violation.
                    4 [Dkt 80]. Yet again, Plaintiff seeks recompense from the HMS Defendants for the
                    5 same work at issue in the prior cases, arguing that some of the contracts, or parts of
                    6 the contracts, were a product of coercion. These claims overlap in name and in
                    7 substance with claims pending in Utah since 2017 and the claims Rota has already
                    8 twice litigated and lost in this Court. The HMS Defendants’ motion to dismiss that
                    9 lawsuit has been fully briefed was taken under submission more than a year ago on
               10 March 11, 2021. While that motion was pending the Ninth Circuit affirmed the
               11 dismissals of both prior lawsuits by Plaintiff against the HMS Defendants, denying
               12 Plaintiff’s requests for rehearing. See Case No. 3:19-cv-0512-L-MDD [Dkt. 148].
               13            C.     Plaintiff’s Now Fourth Duplicative California Lawsuit
               14            Adding the HMS Defendants to a lawsuit that she filed against a business
               15 partner of HMS,1 Plaintiff continues to attempt to litigate the a dispute with the HMS
               16 Defendants at issue in the Utah Litigation and duplicated by her 2018, 2019, and
               17 2020 California Litigation. On this occasion, Plaintiff’s Fifth Cause of Action is the
               18 lone claim against the HMS Defendants and is styled as one for “Unfair
               19 Competition.” FAC [Dkt. 1-3] ¶¶ 82-101. Plaintiff appears to be attempting to
               20 allege conduct in “violation of the Sherman Act” (FAC ¶ 95) a federal antitrust
               21 statute (15 U.S.C. § 1 et seq.). While cast as something slightly different, her latest
               22 case is yet one more improper offshoot of litigation about her terminated contractual
               23 work for HMS that she has spent years improperly multiplying.
               24            Unraveling Plaintiffs’ tangled complaint reveals innumerable allegations
               25
               26   As part of her campaign of multiplying litigation and harassing HMS through the
                       1

               27 judicial process, Plaintiff has filed three additional lawsuits against other business
                  partners of HMS, two of which are pending in this District, and another recently
               28 dismissed in state court. See HMS’ Notice of Related Case [Dkt. 3 at ¶¶ 6-8].
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                    1 establishing that her claims against HMS arise out of the same core set of facts and
                    2 involve the same legal issues that have been repeatedly adjudicated to belong only in
                    3 a Utah court. Plaintiff repeats her claims that HMS owes her for work between 2015
                    4 and 2017. See, e.g., FAC ¶ 28 (alleging she is “unpaid for th[e] two years” she
                    5 “worked with HMS Defendants from October 2015 til (sic) March 2017”); ¶ 87
                    6 (“HMS owes Plaintiff a lot of money.”) Plaintiff repeats her claims that she was
                    7 harassed by Howell during her work for HMS. See, e.g., ¶ FAC ¶ 20 (“Plaintiff
                    8 worked for the Main Agent [i.e., HMS/Howell] for 2 years and was harassed and
                    9 solicited for sexual favors when large sums of money were due.”); ¶ 28 (“facing
               10 sexual harassment and solicitation”); see also ¶¶ 63, 64.
               11            Plaintiff even includes repeated explicit reference to the already existing
               12 litigation which this latest claim improperly duplicates and multiples. FAC ¶ 20
               13 (“Plaintiff is presently in ongoing litigation with the Main Agent [i.e.,
               14 HMS/Howell].”) She references the original lawsuit filed by HMS in the proper
               15 form of Utah (FAC ¶ 28; “Defendant Howell and HMS sued Plaintiff and that matter
               16 is pending in Utah.”) and the numerous duplicative lawsuits that she has filed (FAC
               17 ¶ 29; “[Plaintiff] had to file cases in California to capture all her claims”). She
               18 includes allegations indicating that her allegations here are intertwined with the
               19 existing litigation. See, e.g., FAC ¶ 41 (the “defamatory statements” alleged here
               20 “harmed Plaintiff in her litigation with HMS”); ¶ 74 (the “interference” alleged here
               21 has “made the litigation between the main agent and Plaintiff more expensive”); ¶ 89
               22 (the misconduct alleged here “is a substantial factor in the continuing litigation
               23 because HMS . . . is refusing to take corrective actions in rectifying its severe
               24 misconduct of soliciting favors from a coworker with compensation hostage for
               25 years”). Plaintiff’s latest duplicative claim against the HMS Defendants necessarily
               26 shares the same nexus: the lone former business relationship between them – and
               27 litigation that has followed and she has needlessly multiplied.
               28 / / /
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                    1                                    III. ARGUMENT
                    2         A.     Plaintiff’s Duplicative Litigation Against HMS is Improper
                    3         As detailed above, Plaintiff’s latest lawsuit against the HMS Defendants is the
                    4 latest example in her years’ long effort to avoid the Utah forum she contracted for
                    5 and repeated rulings against her.2 The law does not abide such blatant abuse of the
                    6 judicial system and disregard for the most basic rules of pleading and practice.
                    7                1. Plaintiff is Collaterally Estopped from Again Relitigating that an
                    8                   Enforceable Utah Forum Selection Clause Requires Dismissal.
                    9         Plaintiff is collaterally estopped from relitigating that the forum selection
               10 provision where she agreed to exclusive Utah state court jurisdiction in the contract
               11 governing her relationship with the HMS Defendants requires dismissal of any claim
               12 against them in California under the doctrine of forum non conveniens.
               13             The doctrine of forum non conveniens allows a court to decline jurisdiction
               14 when case is better be tried elsewhere. Lueck v. Sundstrand Corp., 236 F.3d 1137,
               15 1142 (9th Cir. 2001) (citing Gulf Oil Corp. v. Gilbert, 330 U.S. 501, 504 (1947)).
               16 As the Supreme Court has explained, the ordinary analysis changes “when the
               17 parties’ contract contains a valid forum-selection clause, which represents the
               18 parties’ agreement as to the proper forum.” Atl. Marine Const. Co. v. U.S. Dist.
               19 Court for W. Dist. of Texas, 571 U.S. 49, 62 (2013). In short, “[t]he forum selection
               20 clause should control except in unusual cases.” Meyer v. Howmedica Osteonics
               21 Corp., No. 14CV2496 AJB NLS, 2015 WL 728631, at *12 (S.D. Cal. Feb. 19, 2015)
               22 (citing Atl. Marine Const. Co., 571 U.S. 49, 63–65).
               23
               24       2 To the extent necessary for the resolution of this motion to dismiss, Defendants
               25       request the Court take judicial notice of the related filings in other proceedings.
                        Harris v. Cnty. of Orange, 682 F.3d 1126, 1132 (9th Cir. 2012) (“We may take
               26       judicial notice of undisputed matters of public record, including documents on file
               27       in federal or state courts.”) (internal quotations and citation omitted)); Nehrlich v.
                        JLW-TW Corp., No. 15-CV-00521-BAS(BLM), 2016 WL 127584, at *3 (S.D. Cal.
               28       Jan. 11, 2016) (citing Fed. R. Evid. 201(b)(2)).
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                    1        The one-and-only relationship between Plaintiff and HMS Defendants is their
                    2 former contractual business arrangement, which is governed by a Utah Forum
                    3 Selection Provision that provided “any claim or action” arising between them would
                    4 be “submit[ed] to the exclusive jurisdiction of the Courts of the State of Utah.”
                    5 (2019 Cal. Litig., Case No. 3:19-cv-00512, Order of Dismissal [Dkt 18] at 6.) In
                    6 dismissing a prior attempt by Plaintiff at California litigation against the HMS
                    7 Defendants, that provision was already conclusively determined to be “valid and
                    8 enforceable” by Judge Lorenz of this District. (Id. at 8:18-20.) That included the
                    9 prior determination that the clause “does not contravene public policy” and would
               10 not “deprive [Plaintiff] of her day in court.” (Id. at 8:16-19, 7:21-8:2.) Given the
               11 particular language of the clause, it was also already resolved that “the forum
               12 selection clause demands the case be brought in a nonfederal forum,” as such a
               13 California federal court must dismiss, not transfer, this matter. (Id. at 9:22-24.)
               14            The requirements for collateral estoppel are all plainly met with respect to this
               15 issue. “[A] party is precluded from relitigating an issue if four requirements are met:
               16 (1) there was a full and fair opportunity to litigate the issue in the previous action;
               17 (2) the issue was actually litigated; (3) there was final judgment on the merits; and
               18 (4) the person against whom collateral estoppel is asserted was a party to or in
               19 privity with a party in the previous action.” Wolfson v. Brammer 616 F.3d 1045,
               20 1064 (9th Cir. 2010). Each of the elements has been met: Judge Lorenz ruled on the
               21 issue in favor of Defendants and against Plaintiff in a written decision following full
               22 briefing which resulted in dismissal and an order to close the case. See Order
               23 Granting Motion to Dismiss Case No. 3:19-cv-0512-L-MDD) [Dkt. 18]. Indeed, that
               24 dismissal (like that of a parallel duplicative case) was affirmed on appeal and
               25 Plaintiff’s request for rehearing denied. Id. (Mandate Affirming Decision) [Dkt. 25].
               26            Despite an attempt to recast or reanimate her claims in a different form,
               27 Plaintiffs’ latest claim once again falls within the Utah forum selection provision and
               28 must be dismissed. As Plaintiff’s contractual consulting work between with the
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                    1 HMS Defendants, and the litigation about it that has followed, has been the only
                    2 relationship between the parties, it is necessarily the case that Plaintiff’s latest claim
                    3 arises out of those same core facts covered by the Utah forum selection clause.
                    4 Indeed, Plaintiff repeats her claims of unpaid “wages” (e.g., FAC ¶¶ 28, 87) by HMS
                    5 and “harassment” by Howell (e.g., FAC ¶¶ 28, 63-64) during her consulting work
                    6 during 2015 to 2017. Plaintiff explicitly connects this case to the Utah lawsuit by
                    7 HMS (FAC ¶ 28) about that consulting work and her numerous duplicative lawsuits
                    8 that she has already filed before this one (e.g., FAC ¶¶ 29, 41, 74), including by
                    9 alleging the misconduct alleged here “is a substantial factor in the continuing
               10 litigation [with] HMS” (Id. at ¶ 89). Needless to say, Plaintiff cannot avoid the
               11 forum selection clause by filing lawsuits about lawsuits; it is common sense that
               12 litigation about an agreement arises from that agreement.
               13             Plaintiff cannot avoid the Utah Forum Selection Provision “by
               14 artful pleading of claims not based on the contract containing the clause” as her
               15 allegations still “grow out of the contractual relationship[.]” Korea Radio USA, Inc.
               16 v. NY Metro Radio Korea, Inc., No. CV 07-7418 ODW(RCX), 2008 WL 11338439,
               17 at *4 (C.D. Cal. Feb. 11, 2008). For example, pleading unfair competition does not
               18 avoid a forum-selection clause from a contractual relationship. See, e.g., Smith,
               19 Valentino & Smith, Inc. v. Superior Court, 17 Cal. 3d 491, 497, 551 P.2d 1206, 1210
               20 (1976). However styled, Plaintiffs’ claims necessarily arise out of the only
               21 relationship she has ever had with Defendants – their contractual business. See also
               22 Wollam Int'l Corp. v. New Era Decorative Fabrics, Inc., B187650, 2007 WL
               23 1866769, *8 (Cal. Ct. App. June 29, 2007) (“As for the fact that the defendants are
               24 charged with fraud rather than breach of contract, this can get the plaintiff nowhere
               25 in its efforts to get out from under the forum-selection clause.”) (citation omitted).
               26             Applying collateral estoppel on this already resolved issue, the enforceable
               27 forum selection claims between them requires Plaintiffs latest duplicative attempt at
               28 more out-of-forum claims against the HMS Defendants in California be dismissed.
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                    1               2. Plaintiff Cannot Split Claims to Pursue Simultaneous (or Serial)
                    2                  Duplicative Suits Against the HMS Defendants.
                    3        In her campaign of duplicative litigation, Plaintiff does not wait for dismissal
                    4 of a prior suit to file new claims against HMS. Plaintiff years’ long abuse of the
                    5 judicial system has featured a strategy of asserting new claims against the HMS
                    6 Defendants in new cases even while other duplicative cases filed by her remain
                    7 pending. Before removal of this case, Plaintiff already had another lawsuit pending
                    8 in this District against the HMS Defendants, filed on February 19, 2020. (Case No.
                    9 3:20-cv-00321-RBM-KSC.) Indeed, when that prior case was filed, Plaintiff was
               10 still pursuing on appeal two even earlier cases in this District against Defendants
               11 arising out the same facts. (S.D. Cal. Case Nos. 3:18-cv-02010, 3:19-cv-0512.)
               12            Basic notions of fairness and the integrity of the judicial system require that
               13 this practice not be indulged. Plaintiff cannot pursue duplicative claims, whether to
               14 avoid unfavorable jurisdictional rulings, denial of leave to amend, harass
               15 Defendants, or otherwise. “The doctrine of claim-splitting bars a party from bringing
               16 claims arising from the same set of facts in successive actions, rather than bringing
               17 them all at once.” Rivera v. Am. Fed’n of State, Cty., and Mun. Employees, AFL-
               18 CIO, Local 444 No. 3:16-cv-04959, 2017 WL 3021038, at *3 (N.D. Cal. July 17,
               19 2017) (citing United States v. Haytian Republic, 154 U.S. 118, 125 (1894)). In short,
               20 “[p]laintiffs generally have no right to maintain two separate actions involving the
               21 same subject matter at the same time in the same court against the same defendant.”
               22 Adams v. California Dep’t of Health Servs. (9th Cir. 2007) 487 F.3d 684, 688,
               23 overruled in part on other grounds by Taylor v. Sturgell 553 U.S. 880 (2008); see
               24 also Single Chip Systems Corp. v. Intermec IP Corp. 495 F.Supp.2d 1052, 1059
               25 (S.D. Cal. 2007). The purpose of the rule is to “protect the Defendant from being
               26 harassed by repetitive actions[.]” Clements v. Airport Auth. of Washoe Cty. 69 F.3d
               27 321, 328 (9th Cir. 1995) (citing Restatement (Second) Judgments § 26).
               28            Claim splitting is a species of claim preclusion. In re Associated Vintage
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                    1 Group, Inc., 283 B.R. 549, 555 (B.A.P. 9th Cir. 2002). But the rule also bars
                    2 simultaneous pursuit before a final judgment in the prior case. Single Chip Sys.
                    3 Corp., 495 F.Supp.2d at 1058. “[T]he primary difference [between the claim-
                    4 splitting doctrine and res judicata] is that, in claim-splitting, a litigant is able to move
                    5 for dismissal without demonstrating that ‘a court of competent jurisdiction has
                    6 entered a final judgment on the merits’ in the first action.” Cook v. C.R. England,
                    7 Inc. No. 12-cv-3515, 2012 WL 2373258, at *3 (C.D. Cal. June 21, 2012). “It is clear
                    8 that a motion to dismiss based on improper claim splitting need not[,] indeed, often
                    9 cannot wait until the first suit reaches final judgment[.]” 495 F. Supp. 2d at 1059.
               10             Thus, the rule “borrow[s] from the test for claim preclusion,” but it “assum[es]
               11 that the first suit were already final.” Adams, 487 F.3d at 688-89 (affirming
               12 dismissal of second suit for claim-splitting while first suit was still pending). The
               13 court must determine if the claims are sufficiently the same and whether the parties,
               14 or their privies, are the same. Id. To determine whether two causes of action are
               15 similar, courts apply a transactional test. Id.; see also Int'l Union v. Karr 994 F.2d
               16 1426, 1429-30 (9th Cir.1993). “Whether two events are part of the same transaction
               17 or series depends on whether they are related to the same set of facts and whether
               18 they could conveniently be tried together.” Western Sys., Inc. v. Ulloa 958 F.2d 864,
               19 871 (9th Cir. 1992). As already detailed above, Plaintiff’s latest recast claim against
               20 the HMS Defendants is impermissibly duplicative of her 2020 lawsuit – not to
               21 mention her 2018 and 2019 California Litigation and her Utah Counterclaims. Her
               22 allegations necessarily share the same core: the lone former business relationship
               23 between them – and litigation that has followed and she has needlessly multiplied.
               24             Dismissal is an appropriate remedy for a duplicative action. See Adams, 487
               25 F.3d at 688; see also Agha-Khan v. United States No. 1:13-cv-01378, 2015 WL
               26 5734380, at *6 (E.D. Cal. Sept. 29, 2015) (dismissing claims with prejudice where,
               27 among other fatal flaws, suit constituted impermissible claim-splitting). “Dismissal
               28 of the duplicative lawsuit, more so than the issuance of a stay or the enjoinment of
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                    1 proceedings, promotes judicial economy and the ‘comprehensive disposition of
                    2 litigation.’” Id. at 692-93 (quoting Kerotest Mfg. Co. v. C-O-Two Fire Equip. Co.
                    3 342 U.S. 180, 183, 72 S.Ct. 219 (1952). Accordingly, dismissal of Rota’s latest
                    4 duplicative case is required to stop her continued impermissible claim splitting.
                    5
                             B.     Plaintiff’s Convoluted Allegations Do Not Provide Fair Notice of a
                    6               Plausible Claim.
                    7        To the extent her confusing complaint and lone claim against the HMS
                    8 Defendants can be deciphered, Plaintiff’s convoluted factual allegations are not just
                    9 implausible, but also impossibly contradictory and nonsensical. Consequently, the
               10 most basic pleading requirement of fair notice requires dismissal of her latest claim
               11 against the HMS Defendants.
               12            As a general rule, pro se complaints are “held to less stringent standards than
               13 formal pleadings drafted by lawyers.” Hebbe v. Pliler, 627 F.3d 338, 342 (9th Cir.
               14 2010) (citation omitted). However, a pro se litigant’s pleadings still must at least
               15 provide defendants fair notice of what they allegedly did wrong. See Brazil v. U.S.
               16 Dep’t of Navy, 66 F.3d 193, 199 (9th Cir. 1995). Moreover, liberal construction is
               17 only afforded to a plaintiff’s factual allegations, Neitzke v. Williams, 490 U.S. 319,
               18 330 n.9, 109 S. Ct. 1827 (1989), but courts need not accept “unreasonable inferences
               19 or assume the truth of legal conclusions cast in the form of factual allegations.” Ileto
               20 v. Glock Inc., 349 F.3d 1191, 1200 (9th Cir. 2003).
               21            The minimum standard of Federal Rule of Civil Procedure 8 requires a
               22 pleader to put forth “a short and plain statement of the claim showing that the
               23 pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). In general, “[e]ach allegation
               24 must be simple, concise, and direct.” Rule 8(d)(1). This requirement “applies to
               25 good claims as well as bad, and is the basis for dismissal independent of Rule
               26 12(b)(6)” as “[p]rolix, confusing complaints . . . impose unfair burdens on litigants
               27 and judges.” McHenry v. Renne, 84 F.3d 1172, 1179 (9th Cir. 1996). Thus, dismissal
               28 on Rule 8 grounds where the complaint is “verbose, confusing and conclusory,”
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                    1 Nevijel v. North Coast Life Ins. Co., 651 F.2d 671, 674 (9th Cir. 1981), or where it is
                    2 “impossible to designate the cause or causes of action attempted to be alleged in the
                    3 complaint,” Schmidt v. Herrmann, 614 F.2d 1221, 1223 (9th Cir. 1980). Despite the
                    4 flexibility of pleading under the Federal Rules of Civil Procedure, a complaint must
                    5 give fair notice and state the elements of the claim plainly and succinctly. Jones v.
                    6 Community Redev. Agency, 733 F.2d 646, 649 (9th Cir. 1984).
                    7        In other words, Rule 8 justifies dismissal of complaints that are “confused, or
                    8 consisted of incomprehensible rambling.” Cafasso v. Gen. Dynamics C4 Sys., Inc.,
                    9 637 F.3d 1047, 1058-59 (9th Cir. 2011) (discussing cases in which the Ninth Circuit
               10 affirmed Rule 8 dismissals). Complaints that fail to comply with the minimum
               11 standard of Rule 8 impose unfair burdens on judges and litigants. Jacobson v.
               12 Shwarzenegger, 226 F.R.D. 395, 397 (C.D. Cal. 2005) (“Neither the court nor the
               13 defendants should be compelled to cull through pages of rambling narrative,
               14 argument and needless digression to discover the factual bases for [Plaintiff’s]
               15 claims.”); Sparling v. Hoffman Construction Co., Inc., 864 F.2d 635, 640 (9th Cir.
               16 1988) (noting that a complaint that contains factual elements of a cause of action
               17 scattered throughout the complaint and not organized into a “short and plain
               18 statement of the claim” may be dismissed for failure to satisfy Rule 8(a)).
               19            Failure to comply with Rule 8(a) is grounds for dismissal on its own. Nevijel,
               20 651 F.2d at 673 (“A complaint which fails to comply with rules 8(a) and 8(e) may be
               21 dismissed with prejudice pursuant to rule 41(b).”). Even if the factual elements of
               22 the cause of action are present, but are “scattered throughout the complaint and are
               23 not organized into a ‘short and plain statement of the claim,’ dismissal for failure to
               24 satisfy Rule 8 is proper” under Rule 41(b). Bravo v. Cnty. of San Diego, No. C 12-
               25 06460, 2014 WL 555195, at *2 (N.D. Cal. Feb. 10, 2014) (citing McHenry, 84 F.3d
               26 at 1178).
               27            Plaintiff’s convoluted factual allegations are impossibly contradictory and
               28 nonsensical. For example, Plaintiff alleges that it was the BC Defendants who
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                    1 disrupted her business relationship with the HMS Defendants with salacious
                    2 accusations. See, e.g., FAC ¶ 73 (“BC Defendants knowingly disrupted the
                    3 relationship between HMS and Plaintiff and to her prospective relations with the
                    4 universities.”); see also ¶ 41 (alleging BC Defendants told HMS that Plaintiff was
                    5 engaged in sexual impropriety); see also FAC ¶¶ 24, 49. At the same time, Plaintiff
                    6 makes the contrary allegation that it was the HMS Defendants that disrupted her
                    7 relationship with the BC Defendants with salacious accusations. See, e.g., FAC ¶ 33
                    8 (alleging HMS made a false filing in Utah “to turn BC against Plaintiff disrupting
                    9 her staffing business”); ¶ 35 (“HMS interfered in Plaintiff’s business with BC . . .
               10 [by] attempt[ing] to paint Plaintiff as unchaste, using ‘cheap tricks’ to defame her
               11 and to influence a BC . . . to stop working with Plaintiff.”); ¶ 36 (alleging
               12 “disparagement” by HMS that caused losses to Plaintiff).
               13            As another example, the timing of Plaintiffs’ core allegations are in
               14 fundamental conflict. According to her own allegations, Plaintiff chose to end her
               15 work with HMS in 2017. FAC ¶ 28 (“Plaintiff worked with HMS Defendants . . . till
               16 (sic) March 2017 when she ended her employment[,]”). Yet, she alleges that this
               17 “complaint arises out of facts in 2020” (FAC ¶ 30), particularly statements “made in
               18 July 2020 on a phone call with Mr. Howell, Mr. Hariss, and Ms. Mubeen Taj” (id. ¶
               19 45) that caused “erosion of trust between HMS and Plaintiff” (id., ¶ 49) and “hurt[]
               20 Plaintiff’s business relationships and the ability to transact business with HMS” (id.,
               21 ¶ 60) – a business relationship that ended more than three years earlier, allegedly by
               22 her, and was the subject of litigation between them.
               23            These two examples illustrate the incomprehensible and impossible nature of
               24 Plaintiff’s complaint as a whole, particularly the allegations against the HMS
               25 Defendants. Even applying a lenient approach to a pro se plaintiff, the allegations
               26 against the HMS Defendants fall far short providing them fair notice of the claims
               27 against them and should be dismissed.
               28 / / /
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                    1        C.     Plaintiff Alleges Facts Inconsistent with her Claim for Unfair
                                    Competition in Supposed Violation of the Sherman Act
                    2
                    3        Plaintiff’s Fifth Cause of Action is the lone claim against the HMS
                    4 Defendants and is styled as one for “Unfair Competition,” seemingly based on
                    5 allegations of an agreement with the BC Defendants in restraint of trade. FAC ¶¶ 82-
                    6 101. Plaintiff appears to be attempting to allege conduct in “violation of the Sherman
                    7 Act” (FAC ¶ 95) a federal antitrust statute from 1890 (15 U.S.C. § 1 et seq.).
                    8        Section 1 of the Sherman Act prohibits “[e]very contract, combination in the
                    9 form of trust or otherwise, or conspiracy, in restraint of trade or commerce among
               10 the several States, or with foreign nations[.]” 15 U.S.C. § 1. Despite the breadth of
               11 the statutory language, “the Supreme Court ‘has long recognized that Congress
               12 intended to outlaw only unreasonable restraints.’” Aerotec Int'l, Inc. v. Honeywell
               13 Int'l, Inc., 836 F.3d 1171, 1177-78 (9th Cir. 2016) (quoting State Oil Co. v. Khan,
               14 522 U.S. 3, 10 (1997)). Thus, to state a claim for an anticompetitive agreement in
               15 violation of Section 1 of the Sherman Act, a plaintiff must plead evidentiary facts
               16 which, if true, will prove: (1) a contract, combination or conspiracy among two or
               17 more persons or distinct business entities; (2) by which the persons or entities
               18 intended to harm or restrain trade or commerce among the several States, or with
               19 foreign nations; (3) which actually injures competition. Kendall v. Visa U.S.A., Inc.,
               20 518 F.3d 1042, 1047 (9th Cir. 2008); Les Shockley Racing Inc. v. Nat’l Hot Rod
               21 Ass'n, 884 F.2d 504, 507 (9th Cir.1989); see also Bell Atlantic Corp. v. Twombly,
               22 550 U.S. 544, 553-56 (2007). To satisfy the first prong, a plaintiff may not simply
               23 allege an agreement or conspiracy, but rather must provide information as to the
               24 “specific time, place, or person involved in the alleged conspiracies.” Twombly, 550
               25 U.S. at 564; Kendall v. Visa U.S.A., Inc., 518 F.3d 1042, 1046-47 (9th Cir. 2008).
               26            “In addition to these elements, plaintiffs must also plead (4) that they were
               27 harmed by the defendant’s anti-competitive contract, combination, or conspiracy,
               28 and that this harm flowed from an ‘anti-competitive aspect of the practice under
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                    1 scrutiny.’ This fourth element is generally referred to as ‘antitrust injury’ or
                    2 ‘antitrust standing.’” Brantley v. NBC Universal, Inc., 675 F.3d 1192, 1197 (9th Cir.
                    3 2012) (citations omitted); Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S.
                    4 477, 489 (1977) (a plaintiff “must prove antitrust injury, which is to say injury of the
                    5 type the antitrust laws were intended to prevent and that flows from that which
                    6 makes defendants’ acts unlawful.” Antitrust injury requires four elements: “(1)
                    7 unlawful conduct, (2) causing an injury to the plaintiff, (3) that flows from that
                    8 which makes the conduct unlawful, and (4) that is of the type the antitrust laws were
                    9 intended to prevent.” Somers v. Apple, Inc., 729 F.3d 953, 963-94 (9th Cir. 2013)
               10 (quotation marks and citations omitted).
               11            Plaintiff not only fails to state a violation of the Sherman Act, but she also
               12 definitively pleads herself out of such a claim for numerous fundamental reasons.
               13                1. Plaintiff’s Nonsensical Antitrust Allegations Cannot Overcome
               14                   Plausible and Ordinary Legal Conduct by Defendants.
               15            An anticompetitive agreement cannot be inferred from allegations that “just as
               16 easily suggest rational, legal business behavior.” Kendall, 518 F.3d at 1049. To be
               17 plausible, allegations of such an agreement between antitrust co-conspirators must
               18 be made with facts “tending to exclude the possibility of independent action.”
               19 Twombly, 550 U.S. at 553. Perhaps the most fundamental threshold is that
               20 “[a]ntitrust claims must make economic sense.” Adaptive Power Sols., LLC v.
               21 Hughes Missile Sys. Co., 141 F.3d 947, 952 (9th Cir. 1998). The gist of Plaintiff’s
               22 convoluted claims against HMS (and the BC Defendants) seems to be that they have
               23 declined to continue to work with her. Plaintiff alleges no comprehensible facts why
               24 Defendants are logically or legally compelled to work with her. The obvious
               25 plausible explanation under the circumstances – which is no violation – is that
               26 Defendants have chosen not to continue do business with Plaintiff after the
               27 termination of their contract, which was followed by litigation over payment and
               28 other misconduct. Plaintiff’s allegations of salacious talk or litigation filings years
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                    1 later souring the relationship ended years earlier make no sense.
                    2           2. Plaintiff’s Personal Grievance is Not an Anti-Trust Injury.
                    3        Interpreted most liberally, Plaintiff alleges that, for reasons of personal
                    4 animus, Defendants have excluded her from their business. This is not a harm
                    5 sufficient for standing. The antitrust injury required to state a Sherman Act claim
                    6 “mean[s] an ‘injury of the type the antitrust laws were intended to prevent’—i.e., an
                    7 injury to competition.” Somers, 729 F.3d at 967 (quoting Brunswick Corp., 429 U.S.
                    8 at 489). Relevant here, injury to competition requires that competition itself has been
                    9 injured, rather injury to a specific competitor or competitors. See Rutman Wine Co.
               10 v. E & J Gallo Winery, 829 F.2d 729, 734 (9th Cir. 1987); see also Les Shockley
               11 Racing, 884 F.2d 504 (holding that Sherman Act claimants must plead “a reduction
               12 of competition in the market in general and not mere injury to their own positions as
               13 competitors in the market”). In other words, allegations that amount to “[m]ere
               14 injury to [the plaintiff] as a market competitor is not sufficient.” Hip Hop Beverage
               15 Corp. v. Monster Energy Co., 733 F. App’x 380, 381 (9th Cir. 2018) (unpublished).
               16 Put another way, “removal of one or a few competitors need not equate with an
               17 injury to competition.” 884 F.2d at 508. Plaintiff’s allegation that she was singled
               18 out for exclusion is not an actionable antitrust claim.
               19               3. Exclusivity in an Insubstantial Market Share Is Not Actionable.
               20            Plaintiff’s confused allegations could perhaps be interpreted to allege and
               21 challenge as a violation that Defendants impermissibly rely on exclusive contracts in
               22 their line of business. The Supreme Court has held that the Sherman Act does not
               23 restrict the long-recognized right of a business to freely exercise its discretion as to
               24 the parties with whom it elects to deal. Verizon Communs., Inc. v. Law Offices of
               25 Curtis V. Trinko, LLP, 540 U.S. 398, 408 (2004). Doing so is not the equivalent of
               26 reducing competition. Id. Indeed, even exclusive contracts have “well-recognized
               27 economic benefits” and are ordinarily permissible. Omega Envtl., Inc. v. Gilbarco,
               28 Inc., 127 F.3d 1157, 1162 (9th Cir. 1997). As such, where it is the basis of a
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                    1 Sherman Act claim, a “plaintiff must prove that [an] exclusive dealing arrangement
                    2 actually foreclosed competition” and did so “in a substantial share of the line of
                    3 commerce affected.” Allied Orthopedic Appliances Inc. v. Tyco Health Care Grp.
                    4 LP, 592 F.3d 991, 996 (9th Cir. 2010) (citing Omega, 127 F.3d at 1162).
                    5        Plaintiff has not plausibly alleged that HMS has foreclosed a “substantial
                    6 share” of the market with exclusive arrangements; rather, she has effectively alleged
                    7 that the conduct impacts an insubstantial share. Courts have quantified substantial
                    8 share as “40% to 50% of the relevant market.” See Feitelson v. Google Inc., 80 F.
                    9 Supp. 3d 1019, 1029-30 & n.8 (N.D. Cal. 2015) (citing United States v. Microsoft
               10 Corp., 253 F.3d 34, 70 (D.C. Cir. 2001)).3 Plaintiff alleges there are “9 programs”
               11 that make up the “CPT market” (FAC ¶ 83) and that “HMS is the only provider of
               12 CPT for Ottawa and HUST” (FAC ¶ 99), two of the 9 which is only 22% of the
               13 programs. See also FAC ¶ 83 (alleging “the Ottawa business, . . . represents 11% of
               14 the CPT market share (and 22% with HUST)”). Taken as true, she alleges only half
               15 of what is required for an actionable share, again requiring dismissal.
               16            D.     Plaintiff Lacks Standing and Capacity to Bring Her Claim
               17            Even if a Sherman Act claim were possible, Plaintiff lacks standing to bring
               18 such an unfair competition claim arising from a commercial relationship or right of
               19 her own, but one that belongs to her company – a separate legal entity.
               20            Antitrust standing is a jurisdictional prerequisite to a claim for violation of the
               21 Sherman Act for an agreement in restraint of trade. In re ATM Fee Antitrust Litig.,
               22 686 F.3d 741, 744 (9th Cir. 2012). Among the factors, is the directness of the alleged
               23 injury. Amarel v. Connell, 102 F.3d 1494, 1507 (9th Cir. 1996). Claims of indirect
               24 harm to third person falls short of the requisite direct injury. Ass’n. of Wash. Publ.
               25
               26 3 The analysis is the same under Section 2 of the Sherman Act. See Rebel Oil Co. v.
               27 Atl. Richfield Co., 51 F.3d 1421, 1438 (9th Cir. 1995) (“a market share of less than
                  50 percent is presumptively insufficient to establish market power” for an actual
               28 monopolization claim”).
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                    1 Hosp. Dists. v. Philip Morris Inc., 241 F.3d 696, 701 (9th Cir. 2001).
                    2        Plaintiff specifically alleges that her claims are “related to Plaintiff’s staffing
                    3 business August Network.” (FAC ¶ 32.) Her contacts with the BC Defendants at the
                    4 heart of her complaint are alleged to be about work with them “for Plaintiff's entity,
                    5 August Network.” (Id. ¶ 15.) Where the complaint alleges “Plaintiff began working
                    6 with” the Bluechip Defendants, it references “the contract attached [as] (Exhibit A),”
                    7 which reflects a relationship between one of the BC entity defendants and “August
                    8 Network LLC,” not Plaintiff individually. (Id. ¶ 13, Ex. A.)
                    9        Moreover, Plaintiff cannot bring claims on behalf of an entity, which must be
               10 represented by counsel. “Only natural persons representing their individual interests”
               11 may appear in this court pro se without an attorney. Civ. Loc. Rule 83.3(j). All other
               12 parties, including companies, must appear only through an admitted attorney. Id.;
               13 see also United States v. High Country Broad. Co., 3 F.3d 1244, 1245 (9th Cir.
               14 1993) (“A corporation may appear in federal court only through licensed counsel.”).
               15 This prohibition includes that an officer or owner of a company cannot appear on its
               16 behalf. In re Am. W. Airlines, 40 F.3d 1058, 1059 (9th Cir. 1994) (“non-attorney
               17 members of a partnership [cannot] appear on behalf of the partnership”); Laskowitz
               18 v. Shellenberger, 107 F. Supp. 397, 398 (S.D. Cal. 1952) (a corporation “cannot
               19 appear by an officer of the corporation who is not an attorney, and may not even file
               20 a complaint except by an attorney[.]”). Moreover, as a “general rule,” pro se
               21 plaintiffs, like Plaintiff Vashisht-Rota here, are prohibited “from pursuing claims on
               22 behalf of others in a representative capacity.” Simon v. Hartford Life, Inc., 546 F.3d
               23 661, 664 (9th Cir. 2008). Plaintiff’s lack of standing and capacity require dismissal.
               24
                             E.     Plaintiff’s Failure to Serve the Indispensable BC Defendants
               25                   Requires Their Dismissal and Dismissal of the HMS Defendants.
               26            Plaintiff’s failure to prosecute her action against the four original defendants
               27 is another independent basis for dismissal of her claims against moving HMS
               28 Defendants. Plaintiff has failed to serve the four BC Defendants in India, named
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                    1 since her original complaint filed in state court on January 5, 2021, nearly a year and
                    2 a half or more than 500 days ago. Plaintiff has failed completed service despite
                    3 several promises to do so and having repeatedly been given more time for service by
                    4 the state court prior to removal.
                    5        While the statutory 120-day limit of Rule 4(m) for domestic service does not
                    6 apply to service in a foreign country (see Lucas v. Natoli, 936 F.2d 432 (9th Cir.
                    7 1991)), courts recognize that “the amount of time allowed for foreign service is not
                    8 unlimited.” Miyasaki v. Treacy, No. 12-CV-04427, 2014 WL 6687321, at *4 (N.D.
                    9 Cal. Nov. 24, 2014) (quoting (Nylock Corp. v. Fastener World Inc., 396 F.3d 805,
               10 807 (7th Cir. 2005) (imposing limit “[b]ecause district courts need to be able to
               11 control their dockets[.]”); Teetex LLV v. Zeetex, LLC, No. 20-cv-07092-JSW (N.D.
               12 Cal. April 22, 2022); see also Feliz v. MacNeill, 493 Fed. App’x 128, 131 (1st Cir.
               13 2012) (“[C]ourts have leave to dismiss for failure to serve abroad when a plaintiff is
               14 dilatory.”). The more than 75 weeks that have passed by the filing of this motion
               15 provided Plaintiff with more than sufficient opportunity to serve the BC defendants.
               16            Dismissal of the BC defendants, in turn, dictates dismissal of the HMS
               17 defendants. Pursuant to Rule 12(b)(7) of the Federal Rules of Civil Procedure, a
               18 party may move to dismiss a case for “failure to join a party under Rule 19.” Rule 19
               19 states “[a] person who is subject to service of process and whose joinder will not
               20 deprive the court of subject-matter jurisdiction must be joined” if “in that person's
               21 absence, the court cannot accord complete relief among existing parties.” Fed. R.
               22 Civ. P. 19. If joinder is not feasible, “the court must determine whether, in equity
               23 and good conscience, the action should proceed among the existing parties or should
               24 be dismissed.” Id. Thus, Rule 19 imposes a three-step inquiry: (1) whether the absent
               25 party is necessary (i.e., required to be joined if feasible) under Rule 19(a); (2) if so,
               26 whether it is feasible to order that absent party to be joined; and (3) if joinder is not
               27 feasible, whether the case can proceed without the absent party, or whether the
               28 absent party is indispensable such that the action must be dismissed. Salt River
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                    1 Project Agric. Improvement & Power Dist. v. Lee, 672 F.3d 1176, 1179 (9th Cir.
                    2 2012). “Necessary” refers to a party who should be joined and “indispensable” refers
                    3 to “a party whose participation is so important to the resolution of the case that, if
                    4 the joinder of the party is not feasible, the suit must be dismissed.” Disabled Rights
                    5 Action Comm. v. Las Vegas Events, Inc., 375 F.3d 861, 867 n. 5 (9th Cir. 2004).
                    6         An absentee is necessary either if the Court “cannot accord complete relief
                    7 among the existing parties” or if the absentee “claims an interest relating to the
                    8 subject of the action.” Fed. R. Civ. P. 19(a)(1)(A) & (a)(1)(B). If an entity’s
                    9 presence is critical to the disposition of important issues in the case, and/or its
               10 evidence will either support the complaint or bolster the defense, it is a necessary
               11 party. Freeman v. NW. Acceptance Corp., 754 F.2d 553, 559 (5th Cir.1985). In
               12 assessing “complete relief” for Rule 19(a), courts must consider how effective a
               13 judgment would be at resolving the controversy between the present parties.
               14 Evergreen Park Nursing & Convalescent Home, Inc. v. Am. Equitable Assurance
               15 Co., 417 F.2d 1113, 1115 (7th Cir. 1969). In other words, the goal of Rule 19(a)(1)
               16 is to protect the interests of the parties by affording complete adjudication of the
               17 dispute; judicial economy is aided by avoiding repeated lawsuits concerning the
               18 same subject matter. Schutten v. Shell Oil Co., 421 F.2d 869 (5th Cir. 1970).
               19             “Whether a person is ‘indispensable,’ that is, whether a particular lawsuit
               20 must be dismissed in the absence of that person, can only be determined in the
               21 context of particular litigation.” Provident Tradesmens Bank & Trust Co. v.
               22 Patterson, 390 U.S. 102, 118, 88 S.Ct. 733 (1968). The court must consider (1) the
               23 extent to which a judgment rendered in a necessary party’s absence might prejudice
               24 that party or the other parties, (2) the extent to which the court could lessen or avoid
               25 any prejudice, (3) whether a judgment rendered without the absent necessary party
               26 would be adequate, and (4) whether the plaintiff has some other adequate remedy.
               27 Fed. R. Civ. P. 19(b); see also Paiute-Shoshone Indians of Bishop Cmty. Colony v.
               28 City of Los Angeles, 637 F.3d 993, 1000 (9th Cir. 2011). The court must make a
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                    1 “practical examination of the circumstances to determine whether an action may
                    2 proceed.” Paiute-Shoshone, 637 F.3d at 1000. The general rule that joint tortfeasors
                    3 are permissive rather than necessary parties does not apply “when the absent party is
                    4 more than a key witness, but also an active participant in the allegations that are
                    5 critical to the disposition of the litigation.” In re Toyota Motor Corp., 785 F. Supp.
                    6 2d 883, 906 (C.D. Cal. 2011) (citing Laker Airways, Inc. v. British Airways, PLC,
                    7 182 F.3d 843, 848 (11th Cir. 1999).
                    8        Here, the BC Defendants indisputably are at the very heart of Plaintiff’s
                    9 claims. The BC Defendants – ahead in the caption – were the original parties sued
               10 by Plaintiff and are named in all the claims, whereas the HMS Defendants were
               11 belated added with a single claim. Under such circumstances, the BC Defendants are
               12 so essential to this case as to be indispensable. Somehow attempting to litigate this
               13 matter in California to an eventual judgment without the primary defendants who are
               14 supposedly the other half of an anticompetitive agreement, would be inherently
               15 unfair to the HMS Defendants, make complete adjudication impossible, and
               16 disregard any likelihood of judicial economy. For these reasons, the absence of the
               17 BC Defendants in this Court dictates dismissal of the HMS Defendants as well.
               18                                      IV. CONCLUSION
               19            Plaintiff’s latest duplicative lawsuit violates the rule against claim-splitting.
               20 Plaintiff is collaterally estopped from relitigating that any claims arising out her
               21 former relationship with the HMS Defendants must be dismissed under the doctrine
               22 of forum non conveniens given the parties’ choice of Utah state courts as the
               23 exclusive forum. Furthermore, her confused allegations fail to state a claim for
               24 violation of the Sherman act, contradicting what is required. Plaintiff lacks standing
               25 and capacity to bring a claim on behalf of her entity and has failed for a year and a
               26 half to serve the indispensable BC Defendants. For all these reasons, this Court
               27 / / /
               28 / / /
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                    1 should dismiss Plaintiff’s claim against the HMS Defendants with prejudice.
                    2 DATED: June 28, 2022               LAW OFFICE OF TIMOTHY A. HORTON
                    3
                                                         By: /s/ Timothy A. Horton
                    4                                       Timothy A. Horton
                    5                                       Attorneys for Defendants Howell
                                                            Management Services and Chris Howell
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  LAW OFFICE OF
TIMOTHY A. HORTON                                              23              Case No. 3:22-cv-00900-GPC-MSB
                                                                              HMS DEFS.’ MOTION TO DISMISS
